SENTENCING HEARING                                      Judge Leonie M. Brinkema
Date: 06/18/20                                          Reporter: A. Thomson
Start: 9:28am       End:   10:18am

UNITED STATES of AMERICA                 CASE NUMBER:    1:19cr304
Vs.

     HENRY KYLE FRESE

Counsel/Govt.:J. Gellie,Danya Atiyeh   Counsel/Deft.: Stuart Sears/D. Onorato
Court adopts PSI [ ] without exceptions [ ] with the following
exceptions:__________________________________________________________________
SENTENCING GUIDELINES:              Upon Motion of [ ] Deft [ ] Govt
Offense Level: __34__                    Court depart from G/L pursuant to:
Criminal History: __I__                                     [ ] USSG 5K1.1
Imprisonment Range: 151 to _188_ months                     [ ] USSG 5C1.2
Supervised Release Range: __1__ to __3__ years              [ ] USSG 5K2.12
Restitution: $_______________                               [ ] USSG 5H1.4
Fine Range: $_35,000.00__ to $_250,000.00__                 [ ] _____________
Special Assessment: $_100.00__ per Count

JUDGMENT of the COURT:
BOP for __30__ months, with credit for time served
Supervised Release for __3__ Years
Supervised Probation for ________ Years
Restitution: $ ______________ payable to ____________________________
Fine: $ ________________ [ ] Due Immediately [ ] Monthly payments of $_______
to begin _______ days from imposition of sentence/release
Special Assessment: $_100.00_ [ ]Satisfied [x] Due immediately
Fine/Costs Waived [x] Interest Waived [ ]

SPECIAL CONDITIONS:
    Home Confinement for the first _____ days/months of supervision, at the
     deft=s expense, w/leave as directed by Court.
    Deft. to remain drug free, In/Out patient treatment as directed.
       Deft to pay costs as able                  Deft to waive privacy
 x Deft. to participate in mental health evaluation, medication, treatment,
counseling as directed.
     x Deft to pay costs as able                x Deft to waive privacy
    Pay Restitution of $ _______________,[ ] Due Immediately [ ] Monthly
     payments of $_______to begin _____ days from release from custody.
    Access to all financial information/records
    No New Credit/No Purchases over $________ without prior approval.
    Cooperate fully w/BICE, may not re-enter w/o permission during S/R.
    Seek and maintain full time employment        Full-time education program
 x Drug Testing Waived
 x Other: defendant shall be in full compliance with the Non Disclosure and the
assignment of any profits or proceeds from publicity agreements that are included
in his plea agreement
RECOMMENDATION TO BOP:
 x     Deft. to be designated to a camp facility in Allenwood, PA.
 x     BOP to waive public safety factor in making a designation.
       Other: ____________________________________________________________.
Defendant: [ ] Remanded [x] Self Surrender/Bond cont.
 Deft advised of appeal rights
